                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


   MICHAEL BUSH
                                   Plaintiff

                         v.                            CIVIL ACTION NO. 22-10473-GAO


   THE WANG CENTER FOR THE PERFORMING ARTS,
                        Defendant


                                    STANDING ORDER REGARDING
                                   MOTIONS FOR DEFAULT JUDGMENT


   O’TOOLE                                           , D.J.

        A Notice of Default has been issued to the above named defendant(s) upon request of the
plaintiff(s) in the above entitled action.
        In anticipation of a Motion for Entry of Default Judgment being filed, counsel are advised
of the following requirements for submission of such motion in order to ensure compliance with
Rule 55 of the Federal Rules of Civil Procedure:
        l.      A party making a motion for default judgment shall comply with all the
requirements of Fed. R. Civ. P. 55 particularly those related to filing of affidavits. The moving
party shall also submit an appropriate form of default judgment in the fashion of the draft order
attached hereto as Appendix A. Such compliance shall be completed no later than 14 days after
the filing of the motion itself;
        2.      Within the 14-day period for compliance by the moving party, the party against
whom default judgment is sought shall have an opportunity to file substantiated opposition to the
default judgment motion and to request a hearing thereon;
        3.      If the motion is directed to all defendants, the Court will take up the motion for
default judgment on the papers at the conclusion of the 14 day period. If the motion is directed
to fewer than all defendants, it must be accompanied by a motion under Fed. R. Civ. P. 54(b).




                                                                               [procodfltjgm.]
                             By the Court,



                             /s/ Paul Lyness
                             Deputy Clerk

Dated:4/18/2022




(~0749169.wpd ­ 12/98)              [procodfltjgm.]




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                                               Appendix A

                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


                         Plaintiff(s)


                v.                                      CIVIL ACTION NO.



                         Defendant(s)


                                            FORM OF
                                        DEFAULT JUDGMENT

                                          , D.J.

         Defendant                                                      having failed to plead or

otherwise defend in this action and its default having been entered,

         Now, upon application of plaintiff and affidavits demonstrating that defendant owes

plaintiff the sum of $                                                           that defendant is

not an infant or incompetent person or in the military service of the United States, and that

plaintiff has incurred costs in the sum of $

    .

        It is hereby ORDERED, ADJUDGED AND DECREED that plaintiff recover from defendant
                                                            the principal amount of $
                             , with costs in the amount of $
and prejudgment interest at the rate of            % from                                  to
                     in the amount of $                                             for a total
judgment of $                                                            with interest as provided
by law.



                                                        By the Court,

Dated:
                                                        Deputy Clerk



NOTE: The post judgment interest rate effective this date is            %.




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